Case 2:OO-cv-02863-.]PI\/|-tmp Document 454 Filed 06/01/05 Page 1 of 3 Page|D 372

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JoHN N_ nooPizR,

Plaintit`f,

v. CASE NO. OOCV2863-l\/lL/P
l’UBLlC PROPERT]ES
MANAGEMENT, INC. (PPl\/I, INC.)

et a]._,

Defendants.

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l ORI)ER GRANTING DEFENDANTS LAUREN L. REAGER AND
WELLS FARGO BANK’S MOTION FOR LEAVE TO FILE REPLY

 

This matter came before the Court upon the motion ofDefendants Lauren L. R_eager and
Wells Fargo Bank AS Trustee OfThe Lauren L. Reager, M.D. Pension Plan Trust for leave to file
a reply memorandum in Support of their motion to dismiss. It appears to the Court that good cause
has been shown for the filing of a reply and therefore FINDS the motion is well taken and should
be granted

lt is therefore ORDERED that Defendants Lauren L. Reager and Wells Fargo Bank AS
Trustee Ot` The Lauren L. Reager, l\/I.D. PenSion Plan Trust’S may file a reply memorandum in
Support oftheir pending motion to dismiss. The deadline for the filing ot` this reply is .lune 2,
2005. The page limit for the reply is 10 pages. ,

ir 13 So oRDERED THIS j`_ day er \\J CW’/, 2005.

Mi;? ®'l l llt@ll

z JO P. MCCALLA
i U < ITED STATES DISTRICT JUDGE

  

 

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